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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


MATTHEW STURGILL,

              Plaintiff,

      V.                                               ACTION NO: 2:18cv566

NORFOLK SOUTHERN RAILWAY CO.,

              Defendant.


                          MEMORANDUM OPINION AND ORDER


      This matter comes before the court on the Defendant's Motion

to Dismiss, EOF No. 7, and accompanying Brief in Support, EOF

No. 8, filed on December 3, 2018. The Plaintiff filed a Memorandum

of Law in Opposition (^^Opposition") on December 12, 2018. EOF

No. 10. The Defendant filed a Reply on December 18, 2018. ECF

No. 12. The Motion to Dismiss has been fully briefed and is now

ripe for review.

                                  I.     BACKGROUND


      Sturgill filed his Complaint in this court on October 24,

2018, ECF No. 1, and filed an Amended Complaint on November 15,

2018,   ECF    No.   6.    The   facts   set   forth   herein   are   taken   from

Plaintiff Matthew Sturgill's (^^Sturgill") Amended Complaint and

are accepted as true for the purpose of deciding Defendant's Motion

to Dismiss.^ See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).



     ^ To the extent either party cites to facts not alleged in
Sturgill's Amended Complaint, see, e.g., Br. Supp. at 3 n.2; Mem.
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